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1                                                            The Honorable Richard A. Jones
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4
                           UNITED STATES DISTRICT COURT
5                         WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
6

7     UNITED STATES OF AMERICA,
                                                    Case No. CR14-000165RAJ
8
                                  Plaintiff,
9                                                   ORDER AUTHORIZING
      v.                                            EXPENDITURE OF FUNDS
10                                                  TO CONDUCT COMPETENCY
11    JERRY DELMAN,                                 EVALUATION

12                                Defendant.
13
            This matter being brought before the court upon Defendant Jerry Delman’s
14
     Motion for an Order Authorizing Expenditure of Funds to Conduct Competency
15   Evaluation, there being no opposition by the Government, and the court finding good
16   cause, it is ORDERED that Defendant’s Motion (Dkt. #216) is GRANTED and that
17   funds in the amount of $750.00 are authorized to pay for a competency evaluation of
18   Defendant Jerry Delman.
19          IT IS FURTHER ORDERED that Mr. Delman shall be examined for a

20
     competency evaluation by Dr. Jacqueline Valdes.
            This order is entered pursuant to Defendant’s motion to determine competency
21
     and request for a psychological evaluation report, 18 USC Section 4241(a) and (b).
22
     Dr. Valdes shall prepare and file with the court a written report that includes:
23
            (a) Defendant Jerry Delman’s history and present symptoms;
24
            (b) A description of the psychiatric, psychological, and medical tests that she
25
               employed, and their results;
26          (c) Her findings;

     _____________________________________________________________               LAW OFFICES OF
     ORDER AUTHORIZING EXPENDITURE OF FUNDS                                   RESSLER & TESH
                                                                                PENTHOUSE SUITE
     TO CONDUCT COMPETENCY EVALUATION - 1                                      821 SECOND AVENUE
                                                                               SEATTLE, WA 98104
                                                                                 (206)388-0333
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1           (d) Her opinions as to diagnosis and prognosis; and
2           (e) An opinion on whether Jerry Delman is suffering from a mental disease or
3              defect rendering him mentally incompetent to the extent that he is unable to
4              understand the nature and consequences of the proceedings against him or to

5              assist properly in his defense.

6
            DATED this 23rd day of February, 2016.
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                                                       A
10                                                     The Honorable Richard A. Jones
                                                       United States District Judge
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     _____________________________________________________________             LAW OFFICES OF
     ORDER AUTHORIZING EXPENDITURE OF FUNDS                                  RESSLER & TESH
                                                                              PENTHOUSE SUITE
     TO CONDUCT COMPETENCY EVALUATION - 2                                    821 SECOND AVENUE
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